Case 1:23-cv-01350-PJG ECFNo.1, PagelD.1 Filed 12/26/23 Page 1 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT
for the FILED - GR

December 26, 2023 1:10 PM
CLERK OF COURT
U.S. DISTRICT COURT

; WESTERN DISTRICT OF BOA
Nate Saha Ati Ccthasele: BY: KB SCANNED BY:
Pe oner )
” Case No. .
Sweplied®y 4-93-cv-1350
Phillip J. Green
Shere Skewgn Ninkheay U.S. Magistrate Judge

(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your full name: Andrew Tein A“Commacke
(b) Other names you have used:
2. Place of confinement:

(a) Name of institution: Cal\woun County S55)
(b) Address: 185 €, Michiaan Aves nve,

Bable Cue Pick, 490/4
(c) Your identification number: '# QYYS 75

3. Are you currently being held on orders by:
O Federal authorities WH State authorities QO} Other - explain:
97M Circuit Coury at Kelamazod County = (Hon ) Pav\ 5. Bridenstine.

4. Are you currently:

A pretrial detainee (waiting for trial on criminal charges)
OServing a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime

If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you:

(b) Docket number of criminal case: Case 46, 2023-0/79-FC
(c) Date of sentencing:

Being held on an immigration charge

Dother Giplainy) T am being held ill Lileoal Fr nas: I leaal Jurisdiction,
L\\eaal Lnptisonmenk hold since my Wega | arrestot C)- 17-2033). _ The court
Was Maued focuned Lot multiple hearings that they had Wb x Cight 4a do oe Nave

Decision or Action You Are Challenging

5. What are you challenging in this petition:
Cl}How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

Page 2 of 9
Case 1:23-cv-01350-PJG ECFNo.1, PagelD.2 Filed 12/26/23 Page 2 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Pretrial detention

O Immigration detention

0 Detainer

O'The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

O Disciplinary proceedings

Dotter The court nod no- legal Burisdichion due to No~ feaal Probable Guse

Determination not lega\ Arearonmet

6. Provide more information about the decision or action you are challenging:

(a) Name and location of the agency or court: oth Cfecuit t Court ot ot Ve\ amazo0 Co unty, 227

west Miclnioan Aves. alamazon, Lich, 4/9007 (Hon) Foul 3, Bridensting
(b) Docket number, case number, or opinion number: Case 4%. 2023-0/79

(c) Decision or action you are challenging (for eS proceedings, specify the penalties imposed):

samchal levgine ay Teg a\ Agr. 54 with an At dovit - Curthouk \eaa\ acres
Lwottant ).. , Tleaa' Arraignment - Cneld 2\- Des avter ance st 2, And all I Hean|
Covet actwies afler- words ~ (thet /s on- =

(@) Date ofthe decision or action: Acros ate z ( (-17-2043); Arraignment Date; (2-7-2033)

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
OYes JXNo
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

(b) If you answered “No,” explain why you did not appeal:

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
OYes JINo

Page 3 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.3 Filed 12/26/23 Page 3 of 12

AO 242 (Rev. 09/17). Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

(b) If you answered “No,” explain why you did not file a second appeal:

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?

Yes PANo

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

(b) If you answered “No,” explain why you did not file a third appeal:

10. Motion under 28 U.S.C. § 2255
In this petition, are you challenging the validity of your conviction or sentence as imposed?
OYes No
If “Yes,” answer the following:
(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes Ano

Page 4 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.4 Filed 12/26/23 Page 4 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

11.

If “Yes,” provide:
(1) Name of court:
(2) Case number:
(3) Date of filing:
(4) Result:

(5) Date of result:
(6) Issues raised:

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

Yes No
If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result:

(5) Date of result:

(6) Issues raised:

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence:

Appeals of immigration proceedings
Does this case concern immigration proceedings?
OYes JMNo

If “Yes,” provide:

(a) Date you were taken into immigration custody:

(b) Date of the removal or reinstatement order:

(c) Did you file an appeal with the Board of Immigration Appeals?
O Yes BNo

Page 5 of 9
Case 1:23-cv-01350-PJG ECFNo.1, PagelD.5 Filed 12/26/23 Page 5 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

If “Yes,” provide:
(1) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:
(5) Issues raised:

(d) Did you appeal the decision to the United States Court of Appeals?
0 Yes }HNo
If “Yes,” provide:
(1) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:
(6) Issues raised:

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes ONo
If “Yes,” provide:
(a) Kind of petition, motion, or application: Ri 4 er or “lh
(b) Name of the authority, agency, or court: WM Cictork Covert ab Bog 7

(c) Date of filing? (J - 3-093)

(d) Docket number, case number, or opinion number: Case, Ao, AOI3-O/ 79 -FO
(ec) Result: a

(f) Date of result:

(g) Issues raised: ¢ see Exihit - G )

* Request Far Intetloutory Appea| Jo Reverse, Cour Rolin,
at S Mexican Hearing He} ld On (Z'- 2b -2023) By (Hon) Poul 3. Bridenstine,

Page 6 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.6 Filed 12/26/23 Page 6 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,

laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: 1 \\oz,
5 sais T
(see Eyibit=- £) -
Aisa - Gee Exibih-G)\* Reovest Foc Avlereurory Avpent Te Reverse Gurs Ruling
Eas [ate ae oa vd So Ae Pe a Tack!
ot Aoban Hearing Hell Gn (9-26-3023 ) Dy (rien) Pal 3. Beidensh ii.
(a) Supporting facts (Be brief. Do not cite cases or law.): 4 '
_On or aloovt (- 17-2033), a dereckive Poleified skokememte ob hersay In ah
oWidavit of probable cause. to place. whic detendunk uncer -arresk

: : \ eg a\\y Suey
8 ‘ . . fh J, x
Twig dekerkive, ingormed this desendeuss we, WS under -atvesy awd reac Alyn

é.
\

Wis Afitranda tiants | placing a lien / hold on this detevclawt while he was

\ ; x 4 3 A ‘ \
o\ Acres Proceedinas Durisdicdhion Inyo isonme wir
v y

: eo sy oy Pee

ema weld on un-relaved CKarses inthe Calhoun Count Dail (See attclment )
(b) Didyou present Ground One in all appeals that were available to you?
AlYes CNo

: . o be ON ~ ; , | t \ 4
GROUND TWO: Perry [ Seaud mY 7 Ci rout CoutT oF Kelaw260 Comarty >

4 “ ~ 7 ' ‘ 7 ' rc
(Hows) Paw 35 Bridenet ne | denial / refuse\ ok Order Denwing DeSenclawk's
Orkober a. 2023 Astin) (see &xyjsbi+ -D) =

(a) Supporting facts Be brief. Do not cite cases or law.): *

Ki t . i ,

nis Unired Skake.s Diske\ce Courk Caw “Eqres\ ously See Phe oth Citcuit Court

oy Kolumaros County - Chow) Paul 3, Bridensing bes denied this ce lendant ’s

(Pm- Se) Aotion ot Lilenal Proceecdtine. Tilesel Duneditlon-Tllowsl Ingrisonmeys.
t ‘ te \ od J ov \ ‘ fy ', a “4 '

In derruty Frauclulent manner ahovtthe tacts fn t's ental Bled claLeol

i a} ¢ e t i, ’
(\p-)4-3045),, _ (See Fx bit -D order Denying Defenclant's Csee gHachment )
(b) Did you present Ground Two in all appeals that were available to you?

OYes DKNo

Ss o \ fy ‘ ‘ i
GROUND THREE: Covet ork regs Ctiynina\ Reo whensille, Atiscan rhc

Batrd by Stelite That catrupls the Wanesty of the ending, Case. ih
Oroseutlory Thad alsa taises issues th Yee Valelid, at the cords abilitver
Four iMoartlal repr senkakion of Laws, f

(a) Supporting facts (Be brief Do not cite cases or law):

The Be CK rok Cours Dudae, ~ CPO 3 Bridensdine, And re, Pemsec utd on, othice. BIZ Iw
Violokion oF Nonceeplione €- with Foil disesvery and Appears ty be on-anine with teyhaa
to Corer-0 Cowninnl Ronslrensible Mise ourthice Be! aviot o& Cock ghlicer ab aw
Adlexel Predia\anty Exo i ho \el Ov. C. 3 “aK A793 } (See Ey bt me © ) =

3

(b) Did you present Ground Three in all appeals that were available to you?
Yes ONo a le ®

Page 7 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.7 Filed 12/26/23 Page 7 of 12
Grounds for Your Clra\lonce tn This Pet/tion
(Atadamenk 09, bh 2}

Ground. Ones On oc doovt (1+ /7- 2023), a dekeckwwe hstied shavements of hersay
Wan avidauik oF droballe cause, to place Yhis debendante under - arrest Negally oy
Tris dekeckiva ‘imtotimed this detendauk he was under-arrest and tead him his
Micronda eida\s : plachas a lien J Weld on this detendant, While ne was loerng Weld

On UN- relaxed Cnaryes mn the Calhoun Conity Tai | - Bottke Creek, Michigan LIO/Y, ‘5
(See txibit-A ¢ Edge) - Callnoun County Kite system ) ++, Causing this detendanr +o

be denied & bond-cedvedion or PR- Bend on (/- 23-2023) ak Pris detendauwk's
bond - hearing in the 37% Craik Cours oF Calhoun County - Balle Creel, Michlyen 490) Yay
(see Exibiy=B Wotice oF Bond henring Wald on (1-23-2033)

This de endauk wus ner aiwen A Zeon -Video or given a. Preloalole Cause Scheninabion.
Wearing wrvrin 48 ~Yours in Sack, this detendant Was @yen given O Atroignmeny
hearing until also alvdays later. (see Euloih-C The 3% Districk Courk Register

ot Ackion ) - Wack Suppers tnose Yacks ,

Persons aatestved With ot with-out a wartanty musk be ptomptly brought betore
a Neutral magisttare Soc aw provable cause determination » ., Due Process eguibemort
“Esregiously not met by: ACL 764,13} ACL 764, a6 | ACR 6, /oY

Asccdgnment orside a 72> hots with nO. esol probable cause determination
easing \s ow ‘egal hessing and also all court proccedings axet “words the cover
\nad "NO lega Sucisdickion Foundation the cout lad wo" Jegal bases hor w
preliminary 2X0 hearing +) Invi olotion of this detendark’s pn § th cand jth
Amendment US, Const Rights as wallas, the aligning protections of Art | Sec,
AW, end V7 et pre Aichigan Const, oF /763,

- Ground Two: Thwis United States Disttick Court can Egreshously see the 9% Cireuit
Court oF Kalamazoo Courity - (Hom) Pay\ Bei denskind has denled this detendant (Pro-Se)
Mon oy * Tegal oceeclings egal Jurisdiction, TMegal Inprisonnet [Nw peqyry
Case 1:23-cv-01350-PJG ECFNo.1, PagelD.8 Filed 12/26/23 Page 8 of 12
Grounds for Your Challenge j in This Petition
(Akadamernk 0S. 26F2 )

Fraudulent monner dort tre Facks in H's olenial , Lied cetec! C -/6-2003)- -5

(see Exile -D Order Denying Delendant's ie 7, 2023 Aetion ), , ) Fora this Jeeadea
Was been in (Pro-Se) - Self representarion | oy Force, since. (8-/5- hoes (See
Exibh- E Dfendadts Astice of (Pro-Se)- Self wapusoheiiinn aud, (Pro- Se) nrortiontiled

on ($-/5- 2033), dnd has been waiking fot the court +0 assign substitute Cours
appointed counsel since (10-2- 2023). (See €xi bit =F /Yotion * Tegal Procesetings
Wega Dur isdichion , Tega\ Inprisonment and Derendawkis Azstice of Error of Pesjy hy,
Wrega\ Proceedings — request ins suashivk<e couck eppoinred counsel pmmedliate! iy Filed on
(\0-a~9093).- ) Wis detendant haswh been gven a Zoorn -Video or Se betore,
Yao yh Create Cousk of Kalamazoo County , nor does Phis devencawt have court ae
counsel , as indicated by Yan, 744 Citeurh Coor® denial on Octaber /6, Q043.+

con be veriried Hniough the Calhoun County Tar\ ‘Los! ‘system, ot this oe
Where abouts on Ackclet /6, 2023 fore Ais defendant was nek at Hat Keating

—_

as reguited,

Furtnermore | for the 77" Circurs Cout® o& Welema200 County +o deny curl reluse to
\neat of acknow ledge Nas Wo’ ' Surisdichion of oF Case NO, R023-0/79-F C | , clearly

establishes an Egxegiovs™ Snot Pre Hh Cieeutd Court has combined with “fee seers
of We cout® So Haters Heir oath to tre United states Constitution , to Subject

DAs acne bo ow Vaud conch Us dickion Lore agn do out const ection andunadrouledy
lay out laws} diving Melt assent, te theit protendedl Legislation.» Violating Judicial
Conon \, 2, and 3’ \ ond vidlaing st Article 6 oF Phe United States Constitution. 4 by a\
Oodh bound oWicess,
Inclosing z This mater js riddled with the taint of re prehensible conduct by Stabe
obticers ¢ ot We Cour’, and constitutiene\ violations, a i's unremediable PUSCOFT OG e
oF Juice ss \ Tae, 7 Cine Chas ee JegoJ Scrisdlickion. .. This detendent has
+ne, rola to! ‘Tnnccense and Kas the right to Due Process of Yhe law,., This \s defendant
request for a Dismissal ia Preval, of all Cages ,

Case 1:23-cv-01350-PJG ECF No.1, PagelD.9 Filed 12/26/23 Page 9 of 12,

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

GROUND FOUR:

(a) Supporting facts (Be brief. Do not cite cases or law.):

(b) Did you present Ground Four in all appeals that were available to you?
OYes TINo

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you ond

not: YX am without cour appointed counsel /or advisement at dais time Irn
Filing x wn (Pt ~Se ) = Self represevstesdinn dhe best Phot Teor yin aclelvess ing this ‘Honor ade,
Coir Lae my Disei Paneiion idle en Foon Potection': to pneve wt The continvous oF The

94h Creurk Couey infeimewent wronsial! ly /V eans¥Awtianall, at thase. rights.

Request for Relief

15. State exactly what you want the courttodo: = would likee For this Couck +o make an Order Far
my immediate eelease Hum these unconeditutlonal viokitions at my due process rights
of illeaal inarisonment | witha \\ Charges dismissed w/s= ~arejudices aud an Order For the

nedeee dling oak +0 cttemp’ OW, illeses\ fed ling ot the Char rages, 1 asa ask this court to
take dckion Coast the Ph Ciptusd Guebok Kalamazog for theit cisresard Soc the

United. Shakes Conckih Mion protecked and quaranteed rights of this U, $, cikizen,

Page 8 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.10 Filed 12/26/23 Page 10 of 12

AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

Placed W Me kelemazce County Jal mail-s ysttm on, Fel Hiny December /S W23

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date: 72 -/S -2OQS nadiau2 J. LL Ci gee

Signature of Petitioner

Signature of Attorney or other authorized person, if any

Page 9 of 9
Case 1:23-cv-01350-PJG ECF No.1, PagelD.11 Filed 12/26/23 Page 11 of 12

7 AN) DR EWs MC COR MACK ayy s
7 Ca\Wwoun County Fail

‘ 13 S £, Mihi. Cy Avtuut, /
Battle Creek, Fics, DIO =

1 Lb 8.30 Oz
RDC 01

II

(C040)

“« |
7 j

8 O; : eS Di

< LAs ery

© HO Avice

E

wo”

a

”

2

9534 6124 2861 3355 7673 79

SHIP

TO:

tram 110 MICHIGAN ST NW
Kee GRAND RAPIDS Mi 49503-2300

Case 1:23-cv-01350-PJG ECF No. 1, PagelD.12 Filed 12/26/23 Page 12 of 12

————— SS Sal eee =

s |

trict Cout >

Lb } G6 I)
gan St Ni
RIGS, fAtich, L750 3

AIGA

